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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DISTRICT

KIRBY INLAND MARINE,LP

      Plaintiff,

v.                                                    NO.3:19-CV-00207

FPG SHIPHOLDING PANAMA 47 S.A.,
K LINE ENERGY SHIP MANAGEMENT,
and the VLGC GENESIS RIVER,in rem

                            *************************



IN THE MATTER OF KIRBY INLAND                         Rule 9(h) Admiralty
MARINE,LP,in a cause of exoneration
from or limitation of liability                       Non-Jury

                          AGREED PROTECTIVE ORDER

      The Court finds that discovery in this action may involve the disclosure of trade

secrets and confidential, competitive, sensitive or proprietary business, technical, and

financial information. It is therefore, ORDERED as follows:


1. This Standard Protective Order shall apply to information, documents, excerpts from
   documents, and other materials produced in this action pursuant to Federal Rules of
   Civil Procedure governing disclosure and discovery.

2. Information, documents, and other materials may be designated by the producing
   party in the manner permitted ("the Designating Person"). All such information,
   documents, excerpts from documents, and other materials will constitute
   "Designated Material" under this Order. The designation shall be either (a)
   "CONFIDENTIAL" or(b)"CONFIDENTIAL-ATTORNEYS'EYES ONLY." This
   Order shall apply to Designated Material produced by any party or third-party in
   this action.

3. "CONFIDENTIAL" information means information, documents, or things that have
   not been made public by the disclosing party and that the disclosing party reasonably

                                         EXHIBIT

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   and in good faith believes contains or comprises (a) trade secrets, (b) proprietary
   business information, or (c) information implicating an individual's legitimate
   expectation of privacy.

4. "CONFIDENTIAL-ATTORNEY'S EYES ONLY" means CONFIDENTIAL
   information that the disclosing party reasonably and in good faith believes is so
   highly sensitive that its disclosure to a competitor could result in significant
   competitive or commercial disadvantage to the designating party.

5. Designated Material shall not be used or disclosed for any purpose other than the
   litigation ofthis action and may be disclosed only as follows:

     a. Parties: Material designated "CONFIDENTIAL" may be disclosed to parties
        to this action or directors, officers and employees of parties to this action, who
        have a legitimate need to see the information in connection with their
        responsibilities for overseeing the litigation or assisting counsel in preparing
        the action for trial or settlement. Before Designated Material is disclosed for
        this purpose, each such person must agree to be bound by this Order by signing
        a document substantially in the form ofExhibit A.

      b. Witnesses or Prospective Witnesses: Designated Material, including material
         designated "CONFIDENTIAL-ATTORNEYS' EYES ONLY," may be
         disclosed to a witness or prospective witness in this action, but only for
         purposes of testimony or preparation of testimony in this case, whether at trial,
         hearing, or deposition, but it may not be retained by the witness or prospective
         witness. Before Designated Material is disclosed for this purpose, each such
         person must agree to be bound by this Order, by signing a document
         substantially in the form of Exhibit A.

     c. Outside Experts: Designated Material, including material designated
        "CONFIDENTIAL-ATTORNEYS' EYES ONLY," may be disclosed to an
        outside expert for the purpose of obtaining the expert's assistance in the
        litigation. Before Designated Material is disclosed for this purpose, each such
        person must agree to be bound by this Order, by signing a document
        substantially in the form of Exhibit A.

     d Counsel.. Designated        Material,     including     material designated
       "CONFIDENTIAL-ATTORNEYS' EYES ONLY," may be disclosed to
       counsel of record and in-house counsel for parties to this action and their
       associates, paralegals, and regularly employed office staff.

     e. Other Persons: Designated Material may be provided as necessary to copying
        services, translators, and litigation support firms. Before Designated Material is
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          disclosed to such third parties, each such person must agree to be bound by this
          Order by signing a document substantially in the form of Exhibit A.

6.   Prior to disclosing or displaying any Designated Material to any person, counsel
     shall:

       a. Inform the person ofthe confidential nature of the Designated Material; and

       b. Inform the person that this Court has enjoined the use of the Designated
          Material by him/her for any purpose other than this litigation and has enjoined
          the disclosure of that information or documents to any other person.

7.   The confidential information may be displayed to and discussed with the persons
     identified in Paragraphs 5(b) and (c) only on the condition that, prior to any such
     display or discussion, each such person shall be asked to sign an agreement to be
     bound by this Order in the form attached hereto as Exhibit A. In the event such
     person refuses to sign an agreement in substantially the form attached as Exhibit A,
     the party desiring to disclose the confidential information may seek appropriate
     relieffrom the Court.

8.   A person having custody of Designated Material shall maintain it in a manner that
     limits access to the Designated Material to persons permitted such access under this
     Order.

9. Counsel shall maintain a collection of all signed documents by which persons have
   agreed to be bound by this Order.

10. Documents shall be designated by stamping or otherwise marking the documents
    with the words "CONFIDENTIAL" or "CONFIDENTIAL-FOR ATTORNEYS'
    EYES ONLY" thus clearly identifying the category of Designated Material for
    which protection is sought under the terms of this Order. Designated Material not
    reduced to documentary form shall be designated by the producing party in a
    reasonably equivalent way.

 11. The parties will use reasonable care to avoid designating as confidential documents
     or information that does not need to be designated as such.

 12. A party may submit a request in writing to the party who produced Designated
     Material that the designation be modified or withdrawn. If the Designating Person
     does not agree to the re-designation within fifteen business days, the objecting party
     may apply to the Court for relief. Upon any such application, the burden shall be on
     the Designating Person to show why the designation is proper. Before serving a
     written challenge, the objecting party must attempt in good faith to meet and confer
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    with the Designating Person in an effort to resolve the matter. The Court may award
    sanctions if it finds that a party's position was taken without substantial justification.

13. Deposition transcripts or portions thereof may be designated either (a) when the
    testimony is recorded, or (b) by written notice to all counsel of record, given within
    ten business days after the Designating Person's receipt of the transcript in which case
    all counsel receiving such notice shall be responsible for marking the copies of the
    designated transcript or portion thereof in their possession or control as directed by
    the Designating Person. Pending expiration of the ten business days, the deposition
    transcript shall be treated as designated. When testimony is designated at a
    deposition, the Designating Person may exclude from the deposition all persons other
    than those to whom the Designated Material may be disclosed under paragraph 5 of
    this Order. Any party may mark Designated Material as a deposition exhibit,
    provided the deposition witness is one to whom the exhibit may be disclosed under
    paragraph 5 of this Order and the exhibit and related transcript pages receive the
    same confidentiality designation as the original Designated Material.

14. Any Designated Material which becomes part of an official judicial proceeding or
    which is filed with the Court is public. Such Designated Material will be sealed by
    the Court only upon motion and in accordance with applicable law. This Protective
    Order does not provide for the automatic sealing of such Designated Material. If it
    becomes necessary to file Designated Material with the Court, a party must move to
    file the Designated Material under seal.

15. Filing pleadings or other papers disclosing or containing Designated Material does
    not waive the designated status of the material. The Court will determine how
    Designated Material will be treated during trial and other proceedings as it deems
    appropriate.

16. Upon final termination of this action, all Designated Material and copies thereof
    shall be returned promptly(and in no event later than forty-five (45) days after entry
    of final judgment), returned to the producing party, or certified as destroyed to
    counsel of record for the party that produced the Designated Material, or, in the case
    of deposition testimony regarding designated exhibits, counsel of record for the
    Designating Person. Alternatively, the receiving party shall provide to the
    Designating Person a certification that all such materials have been destroyed.

17. Inadvertent production of confidential material prior to its designation as such in
    accordance with this Order shall not be deemed a waiver of a claim of
    confidentiality. Any such error shall be corrected within a reasonable time.




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18. Nothing in this Order shall require disclosure of information protected by the
    attorney-client privilege, or other privilege or immunity, and the inadvertent
    production of such information shall not operate as a waiver. If a Designating Party
    becomes aware that it has inadvertently produced information protected by the
    attorney-client privilege, or other privilege or immunity, the Designating Party will
    promptly notify each receiving party in writing of the inadvertent production. When a
    party receives notice of such inadvertent production, it shall return all copies of
    inadvertently produced material within three business days. Any notes or summaries
    referring or relating to any such inadvertently produced material subject to claim of
    privilege or immunity shall be destroyed forthwith. Nothing herein shall prevent the
    receiving party from challenging the propriety of the attorney-client privilege or
    work product immunity or other applicable privilege designation by submitting a
    challenge to the Court. The Designating Party bears the burden of establishing the
    privileged nature of any inadvertently produced information or material. Each
    receiving party shall refrain from distributing or otherwise using the inadvertently
    disclosed information or material for any purpose until any issue of privilege is
    resolved by agreement ofthe parties or by the Court. Notwithstanding the foregoing,
    a receiving party may use the inadvertently produced information or materials to
    respond to a motion by the Designating Party seeking return or destruction of such
    information or materials. If a receiving party becomes aware that it is in receipt of
    information or materials which it knows or reasonably should know is privileged,
    Counsel for the receiving party shall immediately take steps to (i) stop reading such
    information or materials, (ii) notify Counsel for the Designating Party of such
    information or materials,(iii) collect all copies of such information or materials,(iv)
    return such information or materials to the Designating Party, and (v) otherwise
    comport themselves with the applicable provisions of the Rules of Professional
    Conduct.

19. The foregoing is entirely without prejudice to the right of any party to apply to the
    Court for any further Protective Order relating to Designated Material; or to object to
    the production of Designated Material; or to apply to the Court for an order
    compelling production of Designated Material; or for modification of this Order; or
    to seek any other relieffrom the Court.

20. The restrictions imposed by this Order may be modified or terminated only by
    further order ofthe Court.


                           IT IS SO ORDERED,


DATE:
                           UNITED STATES DISTRICT/MAGISTRATE JUDGE
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AGREED AS TO FORM AND CONTENT AND ENTRY REQUESTED:

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                                    EXHIBIT A

       I have been informed by counsel that certain documents or information to be
disclosed to me in connection with the matter entitled have been designated as
confidential. I have been informed that any such documents or information labeled
"CONFIDENTIALLY PRODUCED PURSUANT TO PROTECTIVE ORDER" are
confidential by Order ofthe Court.

      I hereby agree that I will not disclose any information contained in such
documents to any other person. I further agree not to use any such information for any
purpose other than this litigation.


                              DATED:




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